	NO. 07-12-0117-CV

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	MAY 31, 2012
	______________________________

	$6514.00,

Appellant

	V.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 99[th] DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2004-526,853; HON. WILLIAM C. SOWDER, PRESIDING
	________________________________

	MEMORANDUM OPINION
	___________________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant Bennie L. Collins filed a notice of appeal on March 26, 2012, from a default judgment signed on February 28, 2005.  No motion for new trial or like request extending the appellate deadline was filed.  Consequently, appellant had until March 30, 2005, to file a notice of appeal.  He did not do so.  Thereafter, we afforded him opportunity to explain why his notice was untimely and why we had jurisdiction over the appeal.  This resulted in his response filed on May 25, 2012.  Why he did not perfect his appeal within thirty days of February 28, 2005, went unexplained, however.  Moreover, the allegations in his response did not satisfy the requirements of Texas Rule of Civil Procedure 306a(4), which rule permits the belated perfection of an appeal when neither the litigant or his counsel garnered notice or knowledge of the final judgment.  See Tex. R. Civ. P. 306a(5) (prescribing the steps that must be satisfied to obtain the benefits of Rule 306a(4)).  Given these circumstances, we cannot but conclude that we lack jurisdiction over the appeal.  Thus, it is dismissed. 

Per Curiam
